
Per Curiam.
The question involved herein relates to the right of the moving party to interest on dividends. The rule is well settled that when payment of a dividend is deferred by reason of an unsuccessful contest of a claim, the creditor so delayed should be allowed interest on the dividend in order to be put on an equality with other creditors who received the dividends and had the use of the money. (People v. Remington &amp; Sons, 59 Hun, 307; affd., 126 N. Y. 679; Armstrong v. American Exchange Bank, 133 U. S. 433; Matter of Carnegie Trust Co., 161 App. Div. 280, 284; L. R. A. 1917D, p. 1167.)
The order should be reversed, with twenty dollars costs and disbursements, and the motion granted.
Present — O’Malley, Town ley, Dore, Cohn and Callahan, JJ.
Order unanimously reversed, with twenty dollars costs and disbursements, and motion granted. Settle order on notice.
